                          Case 1:09-cv-00026 Document 17 Filed 12/01/09 Page 1 of 1




                2
                                      IN THE UNITED STATES DISTRICT COURT
                                                                                               rlLGO
                3                                                                                  ~l6rk
                                         FOR THE NORTHERN l\1ARIANA ISLANDS                    DistriCt CQurt
                4

                5   MOHAMl\iAD FEROJ AHMED                  )      Civil No. 09-0026
                                                                                       For The
                                                                                             _Northern
                                                                                               _ __Mariana Islands
                6                                           )                          6y_
                                          Plaintiff         )                                  (Deputy Clerkj
                7                                           )
                                    v.                      )      ORDER OF DISMISSAL
                8
                                                            )      WITH PREJUDICE and
                9   GREGORY BAKA, Acting Attorney           )      CLOSING FILE
                    General, and MELVIN GREY,               )
               10
                    Director of Immigration, in their       )
               11   official and individual capacities,     )
               12
                                                            )
                                          Defendants        )
               13
                    -----------------------)
               14
                          BASED UPON the stipulation of plaintiff and defendants that this matter has
               15
                    been settled and that an order of dismissal with prejudice may be entered, and good
               16

               17   cause appearing therefrom; NOW, THEREFORE,
               18
                          IT IS ORDERED that this matter be and hereby is dismissed with prejudice.
               19
                    The court shall retain jurisdiction to enforce the terms of the settlement agreement.
               20

               21   The parties shall bear their own costs and fees; and,
               22
                          IT IS FURTHER ORDERED that this ftle be and hereby is closed.
               23
                          DATED this 1st day of December, 2009.
               24

               25

               26

                                                                      ALEX R. MUN ON
AD 72
(Rev. 08/82)                                                              Judge
